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                        IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF UTAH

UNITED STATES OF AMERICA,                            MEMORANDUM DECISION AND
                                                     ORDER DENYING DEFENDANTS’
                       Plaintiff,                    MOTION TO DISMISS
v.

LYLE STEED JEFFS, et al.,
                                                     Case No. 2:16-CR-82 TS
                       Defendants.
                                                     District Judge Ted Stewart


         This matter is before the Court on a Motion to Dismiss filed by Defendant Lyle Steed

Jeffs. The other Defendants have joined the Motion. Defendants seek partial dismissal under the

Religious Freedom Restoration Act (“RFRA”) and the First Amendment. For the reasons

discussed below, the Court will deny the Motion.

                                         I. BACKGROUND

A.       THE FLDS CHURCH

         The Fundamentalist Church of Jesus Christ of Latter-day Saints (“FLDS”) is a religion

that finds its roots in the Church of Jesus Christ of Latter-day Saints. Communal living is a

tenant of the FLDS church. That concept is known as the Law of Consecration or the United

Order.

         Under the Law of Consecration, faithful members are expected to donate their assets to

the FLDS church through a clearinghouse known as the Bishop’s Storehouse. An individual

who has made a consecration is entitled to seek a “stewardship,” or permission to use donated

property as is necessary to satisfy the just wants and needs of their family. The Bishop oversees



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the Storehouse, receiving the items that have been consecrated and attempting to fulfil the just

wants and needs of FLDS members.

       The Law of Consecration is found in religious texts used in the FLDS church.

Throughout its history, FLDS leaders have taught the importance of the Law of Consecration.

FLDS members have been taught and believe that their eternal salvation is based, at least in part,

on living consistent with the Law of Consecration.

       In 2011, Warren Jeffs, the prophet and leader of the FLDS church, initiated the Holy

United Order. Participation in the United Order required members to donate all property, time,

money, and goods to the Bishop’s Storehouse and also to receive all necessities from the

Storehouse. Membership in the United Order was something to be desired among FLDS

members.

B.     SNAP

       Congress created the Supplemental Nutrition Assistance Program (“SNAP”) “in order to

promote the general welfare, to safeguard the health and well-being of the Nation’s population

by raising levels of nutrition among low-income households.” 1 SNAP was authorized to “permit

low-income households to obtain a more nutritious diet through normal channels of trade by

increasing food purchasing power for all eligible households who apply for participation.” 2 To

accomplish this goal in most instances, eligible households are issued an allotment that is then

used to purchase eligible food from approved retail food stores. 3



       1
           7 U.S.C. § 2011.
       2
           Id.
       3
           Id. § 2013(a).


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       The definition of “eligible household” is important to the administration of the program

and has undergone various changes over the years. 4 The size of the household determines the

level of benefits an applicant may receive. Further, “[p]articipation in the supplemental nutrition

assistance program [is] limited to those households whose incomes and other financial resources,

held singly or in joint ownership, are determined to be a substantial limiting factor in permitting

them to obtain a more nutritious diet.” 5 Currently, household is defined generally as individuals

who live together and customarily purchase and prepare meals together. 6 If a household is

determined to meet the eligibility requirements, an allotment may be issued. “The value of the

allotment . . . shall be equal to the cost to such households of the thrifty food plan reduced by an

amount equal to 30 per centum of the household’s income, as determined in accordance with

section 2014(d) and (e) of this title, rounded to the nearest lower whole dollar.” 7

       Generally, SNAP benefits may only be used by eligible households to purchase eligible

food. 8 The regulations implementing SNAP similarly state that “[p]rogram benefits may be used

only by the household . . . to purchase eligible food for the household.” 9 However, there are no


       4
           Docket No. 458 Ex. 7 ¶¶ 18–25.
       5
           7 U.S.C. § 2014(a).
       6
           Id. § 2012(m).
       7
           Id. § 2017(a).
       8
         Id. § 2013(a) (“The benefits so received by such households shall be used only to
purchase food from retail food stores which have been approved for participation in the
supplemental nutrition assistance program.”); id. § 2016(b) (“Benefits issued to eligible
households shall be used by them only to purchase food from retail food stores which have been
approved for participation in the supplemental nutrition assistance program at prices prevailing
in such stores.”).
       9
         7 C.F.R. § 274.7(a); see also id. § 278.2(a) (“Coupons may be accepted by an
authorized retail food store only from eligible households or the households’ authorized
representative, and only in exchange for eligible food.”).


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specific regulations concerning whether an individual may donate foods received from their

benefits to a religious organization.

       Congress has made it a crime for anyone to knowingly use, transfer, acquire, alter, or

possess SNAP benefits “in any manner contrary to this chapter or the regulations issued pursuant

to this chapter.” 10 It is also a crime for a person to knowingly present or cause to be presented

SNAP benefits “knowing the same to have been received, transferred, or used in any manner in

violation of the provisions of this chapter or the regulations issued pursuant to this chapter.” 11

C.     THE DEFENDANTS

       Defendants are members of the FLDS Church. Defendants have presented evidence

attesting to their belief in and commitment to the Law of Consecration. Defendants state that

their eternal salvation depends, in part, on living consistent with the Law of Consecration.

Further, Defendants Lyle Steed Jeffs and John Clifton Wayman have presented evidence that

they acted as Bishops during the time period covered by the Indictment. In that role, they would

have taught the Law of Consecration and assisted in the distribution of items from the

Storehouse. Defendant Seth Steed Jeffs has presented evidence that he received SNAP benefits.

Defendant Seth Jeffs further testified that he has donated food received using SNAP benefits to

the Bishop’s Storehouse.

D.     THE INDICTMENT

       The Indictment alleges that beginning in 2011, FLDS leaders directed members to divert

their SNAP benefits to the Bishop’s Storehouse. Members were told to either purchase items


       10
            7 U.S.C. § 2024(b).
       11
            Id. § 2024(c).


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and physically bring them to the Storehouse to be donated, or simply swipe their SNAP cards

without the exchange of any food products. The Indictment alleges that food items were

provided to FLDS members who did not qualify to receive SNAP benefits and that converted

proceeds were used to purchase non-eligible items. Defendants are charged with conspiracy to

commit SNAP benefits fraud and conspiracy to commit money laundering.

                                           II. DISCUSSION

A.     RFRA

       RFRA provides that the “[g]overnment shall not substantially burden a person’s exercise

of religion even if the burden results from a rule of general applicability.” 12 RFRA creates an

exception. The government may impose such a burden “if it demonstrates that application of the

burden to the person . . . is in furtherance of a compelling governmental interest; and . . . is the

least restrictive means of furthering that compelling governmental interest.” 13 “RFRA allows

religious adherents to challenge government activities that encroach on their beliefs.” 14

       “To make out a prima facie RFRA defense, a criminal defendant must show by a

preponderance of the evidence that government action (1) substantially burdens (2) a religious

belief, not merely a philosophy or way of life, (3) that the defendant sincerely holds.” 15 “If a




       12
            42 U.S.C. § 2000bb-1(a).
       13
            Id. § 2000bb-1(b).
       14
           United States v. Quaintance, 608 F.3d 717, 719 (10th Cir. 2010); see also 42 U.S.C. §
2000bb-1(c) (“A person whose religious exercise has been burdened in violation of this section
may assert that violation as a claim or defense in a judicial proceeding and obtain appropriate
relief against a government.”).
       15
            Quaintance, 608 F.3d at 719.


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defendant makes that showing, it falls to the government to show that the challenged action is

justified as the least restrictive means of furthering a compelling governmental interest.” 16

       All parties ask the Court to limit its determination to whether RFRA protects the

following: (1) utilizing SNAP cards to purchase food items that are subsequently consecrated to

the FLDS Bishop’s Storehouse for distribution to all FLDS members, including those not eligible

for SNAP benefits, with the guidance of the church’s leadership; and (2) teaching, preaching, or

training on the topics of the United Order, the Law of Consecration and/or the procedures by

which FLDS members provide and/or receive food items from the FLDS Storehouse.

       1.         Religious Belief

       Defendants must first prove that their beliefs are religious, rather than a philosophy or a

way of life. 17 In United States v. Meyers, the Tenth Circuit approved consideration of a variety

of factors to determine whether a belief is a religious belief. “Religious beliefs often address

fundamental questions about life, purpose, and death.” 18 Further, “[r]eligious beliefs often

prescribe a particular manner of acting, or way of life, that is ‘moral’ or ‘ethical.’” 19 “A moral or

ethical belief structure . . . may create duties—duties often imposed by some higher power, force,

or spirit—that require the believer to abnegate elemental self-interest.” 20 In addition, there are




       16
            Id. at 719–20.
       17
            United States v. Meyers, 95 F.3d 1475, 1482 (10th Cir. 1996).
       18
            Id. at 1483.
       19
            Id.
       20
            Id.


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certain accoutrements of religion, including the presence of a founder or prophet, important

writings, ceremonies and rituals, and the desire to propagate their views. 21

       There is no dispute that the FLDS church is a religion. There is also no dispute that the

Law of Consecration is a tenant of the FLDS church. The Law of Consecration itself carries

many of the indicia of a religious belief set forth above. The Law of Consecration is found in

religious texts held sacred by members of the FLDS church. It has been taught and expounded

upon by FLDS leaders, including current and former prophets. Leaders of the FLDS Church

routinely teach this principle to its members. The Law of Consecration also prescribes a

particular way of life that is considered moral and ethical. 22 It creates a duty imposed by God

that requires members to act in a certain way. As Defendant Seth Steed Jeffs explained,

       I believe that the law of consecration is lived in heaven. I believe I’m preparing
       for that. I’m learning right now how to live with heavenly father, and I believe
       that all of the principles taught by the prophets are given to us now so that we can
       learn that in preparation for what comes after life. 23

       Based upon this, the Court finds that Defendants’ belief in living and teaching the Law of

Consecration is religious in nature.




       21
            Id. at 1483–84.
       22
           Id. at 1483 (“A moral or ethical belief structure . . . may create duties—duties often
imposed by some higher power, force, or spirit—that require the believer to abnegate elemental
self-interest.”).
       23
            Docket No. 661, at 72:17–23.


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        2.        Sincerely Held

        Defendants must also establish that their beliefs are sincerely held. The issue of sincerity

is a factual matter. 24 In making this determination, the Court may not decide “whether the

claimant’s religious belief is true.” 25 “Courts are not arbiters of scriptural interpretation.” 26

        When inquiring into a claimant’s sincerity . . . our task is instead a more modest
        one, limited to asking whether the claimant is (in essence) seeking to perpetrate a
        fraud on the court—whether he actually holds the beliefs he claims to hold—a
        comparatively familiar task for secular courts that are regularly called on to make
        credibility assessments—and an important task, too, for ensuring the integrity of
        any judicial proceeding. 27

        “[A]n adherent’s belief would not be ‘sincere’ if he acts in a manner inconsistent with

that belief, or if there is evidence that the adherent materially gains by fraudulently hiding

secular interests behind a veil of religious doctrine.” 28 Similarly, a belief may not be sincere if it

is “motivated by commercial or secular motives rather than sincere religious conviction.” 29

However, “[a] finding of sincerity does not require perfect adherence to beliefs expressed by the

[claimant], and even the most sincere practitioner may stray from time to time.” 30 “[A] sincere

religious believer doesn’t forfeit his religious rights merely because he is not scrupulous in his

observance.” 31


        24
             Meyers, 95 F.3d at 1482.
        25
             Yellowbear v. Lampert, 741 F.3d 48, 54 (10th Cir. 2014).
        26
             Thomas v. Review Bd. of Ind. Emp’t Sec. Div., 450 U.S. 707, 716 (1981).
        27
             Yellowbear, 741 F.3d at 54.
        28
           Int’l Soc’y for Krishna Consciousness, Inc. v. Barber, 650 F.2d 430, 441 (2d Cir. 1981)
(citations omitted).
        29
             Quaintance, 608 F.3d at 722.
        30
             Moussazadeh v. Tex. Dep’t of Criminal Justice, 703 F.3d 781, 791 (5th Cir. 2012).
        31
             Grayson v. Schuler, 666 F.3d 450, 454 (7th Cir. 2012).


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       Defendants have presented evidence demonstrating that they are lifelong members of the

FLDS church. As such, they have been taught to live according to the principles of the FLDS

church, including the Law of Consecration. Defendants’ beliefs are a critical source of guidance

and comfort to them at important times in their lives. Further, Defendants strive to live in a way

consistent with their beliefs and believe that their eternal salvation depends, at least in part, on

doing so.

       The government argues that Defendants’ factual showing is insufficient. The government

argues that Defendants’ general statements concerning their belief in the Law of Consecration

and their desire to teach that principle are insufficient. The government contends that

Defendants must identify a religious belief in consecrating SNAP benefits or teaching others to

donate their SNAP benefits.

       In support, the government points to Guam v. Guerrero 32 and United States v. Bauer. 33

Both cases involved adherents to Rastafarianism who had been charged with importation and

distribution of marijuana, respectively. The defendants argued that they had a sincerely held

religious belief in using marijuana. The Ninth Circuit held that while the defendants might have

a sincerely held belief in using marijuana, they had failed to demonstrate that anything in

Rastafarianism required the distribution or importation of marijuana. 34 Therefore, laws

prohibiting that conduct did not impose a substantial burden.

       The Court disagrees that Defendants’ showing here is insufficient. The government’s

argument fails to fully appreciate the Law of Consecration, as Defendants understand it.

       32
            290 F.3d 1210 (9th Cir. 2002).
       33
            84 F.3d 1549 (9th Cir. 1996).
       34
            Guerrero, 290 F.3d at 1222–23; Bauer, 84 F.3d at 1559.


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Defendants have presented evidence that the Law of Consecration requires them to donate

everything that comes under their care. 35 This necessarily includes SNAP benefits that they

might receive. Thus, unlike the conduct at issue in Guerrero and Bauer, where the importation

and distribution of marijuana was not part of the defendant’s religion, Defendants’ religious

beliefs would require the consecration of food obtained using SNAP benefits, if they received it.

        The government also more specifically challenges the sincerity of the beliefs of

Defendants Lyle Jeffs and John Wayman. The government argues that these Defendants have

acted in ways that were inconsistent with their professed beliefs and engaged in conduct that was

motivated by their financial interests, not their religious beliefs. The government has provided

evidence showing that Defendants Lyle Jeffs and John Wayman enjoyed preferential treatment,

even when the Bishop’s Storehouse could not meet the needs of average members. It is unclear

from the record, however, whether this preferential treatment was requested by these Defendants

or whether those who worked at the Storehouse did this of their own accord. Defendant Lyle

Jeffs has presented evidence that he directed that neither he nor his family was to get special

treatment when filling needs from the Storehouse. From the evidence presented, the Court

cannot conclude that Defendants’ beliefs were not sincere merely because they received

preferential treatment from Storehouse resources. In fact, preferential treatment for Bishops has

at least historical, if not religious, underpinnings. 36

        More troubling is the evidence that Defendant Lyle Jeffs was not required, as were other

members, to utilize the Storehouse to obtain his food and evidence that Mr. Jeffs used

        35
             Docket No. 661, at 68:12–69:16.
        36
        Docket No. 661, at 29:9–30:6; see also Docket No. 550, at 8 (citing Doctrine and
Covenants 42:71–73) .


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Storehouse funds to purchase items for his own benefit. Apparently, Mr. Jeffs had an appetite

for foods that were not found at the Storehouse and he authorized the use of Storehouse funds to

purchase those items. This included “high quality meats, steaks, and vegetables” and “[l]uxury

items such as chocolates, nuts, and bakery items.” 37 These items were available to Defendant

Lyle Jeffs and his family, but not other members. Defendant Lyle Jeffs also authorized the use

of Storehouse funds to purchase items used for extravagant meals prepared exclusively for him

and his guests. 38 Defendant knew full well that his meals were not prepared from Storehouse

ingredients. 39 There is also evidence Defendant Jeffs used money from the Storehouse to

purchase a luxury vehicle. 40

       Moreover, the evidence shows that Lyle Jeffs was not required to endure the same type of

hardship the other members faced. Not only did Defendant Jeffs receive preferential treatment,

he lived a much more extravagant lifestyle than other members. 41 He had new clothing. 42 He

and his family received the nicest amenities and the best food. 43 His family ate three substantial

meals a day, including meat twice a day, while others would not receive meat for months at a

time. 44 When given the opportunity, Defendant did not dispute this evidence.




       37
            Docket No. 458 Ex. 6 ¶ 13.
       38
            Id. Ex. 4 ¶ 6.
       39
            Id. Ex. 3 ¶ 5.
       40
            Id. Ex. 6 ¶ 14.
       41
            Id. Ex. 4 ¶ 4.
       42
            Id. Ex. 6 ¶ 13.
       43
            Id. Ex. 4 ¶ 4.
       44
            Id.


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       Based on this, the Court cannot conclude that Defendant Lyle Jeffs has a sincerely held

belief in the Law of Consecration. Defendant Jeffs acted inconsistently with the Law of

Consecration and materially benefitted from others’ adherence. The evidence demonstrates that

while others were required to obtain the items to fulfill the just wants and needs of their family

from the Storehouse, Defendant Jeffs was not. He used Storehouse funds to purchase the items

he and his family wanted that could not be obtained from the Storehouse. Based upon this

evidence, the Court finds that Defendant Lyle Jeffs has failed to provide evidence that his belief

in the Law of Consecration is sincere.

       3.        Substantial Burden

       Having found that the majority of Defendants have established a sincere religious belief,

the question becomes whether Defendants’ “religious exercise is substantially burdened by the

regulation at issue.” 45 The government contends that the SNAP statutes and regulations require

SNAP beneficiaries only use their SNAP benefits to purchase eligible foods for their household.

In this way, the statutes and regulations prevent members of the FLDS church from donating

food received through the use of their SNAP benefits. For the purposes of this Motion, the Court

will accept the government’s statement of the law as true.

       [A] government act imposes a “substantial burden” on religious exercise if it: (1)
       requires participation in an activity prohibited by a sincerely held religious belief,
       (2) prevents participation in conduct motivated by a sincerely held religious
       belief, or (3) places substantial pressure on an adherent to engage in conduct
       contrary to a sincerely held religious belief. 46


       45
            United States v. Wilgus, 638 F.3d 1274, 1279 (10th Cir. 2011).
       46
          Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1138 (10th Cir. 2013) (en banc),
aff’d sub nom., Burwell v. Hobby Lobby Stores, Inc., ---U.S.---, 134 S. Ct. 2751 (2014)
(quotation marks and alterations omitted).


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       Defendants argue they have been substantially burdened in four primary ways. First,

Defendants argue that this prosecution itself is a substantial burden. Second, Defendants argue

that enforcement of the SNAP statutes and regulations will substantially burden FLDS members.

Third, Defendants argue that enforcement of the SNAP statutes and regulations will interfere

with their ability to practice the Law of Consecration. Fourth, Defendants argue that the SNAP

statutes and regulations interfere with their ability to teach the Law of Consecration. 47 In

addition to these four primary arguments, various Defendants have made arguments as to how

the SNAP statutes and regulations might substantially burden their sincerely held religious

beliefs. The Court will discuss each argument in turn.

                 a.     Prosecution

       Defendants first argue that the mere fact that they are being prosecuted demonstrates a

substantial burden. Defendants rely on Navajo Nation v. United States Forest Service. 48 In that

case, the Ninth Circuit stated: “Under RFRA, ‘substantial burden’ is imposed only when

individuals are forced to choose between following the tenets of their religion and receiving a

governmental benefit . . . or coerced to act contrary to their religious beliefs by the threat of civil

or criminal sanctions . . . .” 49 Support for the second statement comes from the Supreme Court




       47
           Underlying Defendants’ concerns about living and teaching the Law of Consecration is
that their eternal salvation depends, at least in part, on doing so.
       48
            535 F.3d 1058 (9th Cir. 2008).
       49
            Id. at 1069–70.


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case of Wisconsin v. Yoder, 50 one of the cases establishing the substantial burden test the drafters

of RFRA sought to restore. 51

       In Yoder, the defendants were members of the Amish religion who had been convicted of

violating Wisconsin’s compulsory school attendance law after declining to send their children to

public school after they completed the eighth grade. 52 The Supreme Court reversed their

convictions based on the First Amendment. The Court held that the compulsory attendance law

“compels them, under threat of criminal sanction, to perform acts undeniably at odds with

fundamental tenets of their religious beliefs.” 53 Rather than concluding that the mere fact of

prosecution was sufficient to establish a substantial burden, the Court considered the effect the

compulsory education law had on the defendants’ religious beliefs.

       [S]econdary schooling, by exposing Amish children to worldly influences in
       terms of attitudes, goals, and values contrary to beliefs, and by substantially
       interfering with the religious development of the Amish child and his integration
       into the way of life of the Amish faith community at the crucial adolescent stage
       of development, contravenes the basic religious tenets and practice of the Amish
       faith, both as to the parent and the child. 54

       Just as the Court in Yoder considered the effect of Wisconsin’s compulsory attendance

law on Amish parents and children, so too must this Court examine how the SNAP statutes and



       50
            406 U.S. 205 (1976).
       51
            See 42 U.S.C. § 2000bb(b)(1).
       52
            Yoder, 406 U.S. at 207–08.
       53
            Id. at 218.
       54
          Id.; see also id. at 219 (“In sum, the unchallenged testimony of acknowledged experts
in education and religious history, almost 300 years of consistent practice, and strong evidence of
a sustained faith pervading and regulating respondents’ entire mode of life support the claim that
enforcement of the State’s requirement of compulsory formal education after the eighth grade
would gravely endanger if not destroy the free exercise of respondents’ religious beliefs.”).


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regulations might interfere with the conduct for which Defendants seek protection. 55 This makes

sense because if the mere fact of prosecution were enough to trigger a substantial burden, every

criminal Defendant raising a RFRA claim would be able to succeed on this element, rendering

the substantial burden portion of the RFRA test superfluous in criminal cases. Nothing in RFRA

or the case law supports this conclusion.

       For example, in United States v. Friday, 56 a case where the defendant was charged with

shooting an eagle without a permit, the Tenth Circuit had to examine “whether Mr. Friday’s

religious exercise has been substantially burdened.” 57 The court was “skeptical that the bare

requirement of obtaining a permit can be regarded as a ‘substantial burden’ under RFRA,” but

decided the case on alternative grounds. 58 There, as in Yoder, the court looked at the effect of

the statute on the defendant to determine whether a substantial burden existed, not merely at the

fact that he had been prosecuted. Thus, the Court rejects Defendants’ argument that the

existence of this prosecution alone presents a substantial burden. To be sure, statutes and

regulations carrying criminal penalties may impose a substantial burden. But the Court must

look at how those statutes and regulations relate to Defendants’ religious exercise to determine

whether a substantial burden exists.




       55
          See, e.g., Little Sisters of the Poor Home for the Aged v. Burwell, 794 F.3d 1151, 1177
(10th Cir. 2015), vacated, Zubik v. Burwell, ---U.S.---, 136 S. Ct. 1557 (2016) (“In determining
whether a law or policy applies substantial pressure on a claimant to violate his or her beliefs, we
consider how the law or policy being challenged actually operates and affects religious
exercise.”).
       56
            525 F.3d 938 (10th Cir. 2008).
       57
            Id. at 947.
       58
            Id.


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       United States v. Gonzales, 59 a case relied upon by Defendant Lyle Jeffs, does not alter

this conclusion. In Gonzales, a Native American defendant was charged with killing a bald

eagle. The government argued that the defendant lacked standing to challenge the statute and

regulations at issue. The court disagreed, reasoning that the fact that the defendant had been

charged with a crime was sufficient to provide the defendant with standing. 60

       Here, there is no argument by the government that Defendants lack standing. Instead, the

issue is whether Defendants can meet their burden under RFRA by demonstrating that their

sincerely held religious beliefs have been substantially burdened. Defendants’ argument

confuses the two issues. The fact that Defendants have standing to assert a RFRA defense does

not relieve them of proving entitlement to relief under that defense by showing that their

sincerely held religious beliefs have been substantially burdened.

       Gonzales illustrates this point. The defendant in that case challenged regulations

allowing an applicant to seek a permit to take an eagle. The court concluded that the defendant

had standing to challenge these regulations, both as applied and facially, even though he had not

engaged in the application process. Having found that the defendant had standing, the court

went on to find that the regulations at issue imposed a substantial burden. The court so found,

not because the defendant had been prosecuted, but because the application regulations required

him to disclose confidential information that was sacred to him. 61




       59
            957 F. Supp. 1225 (D. N.M. 1997).
       60
            Id. at 1227.
       61
            Id. at 1228.


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       The cases relied upon by Defendant John Wayman do not compel a different conclusion.

In United States v. Boyll, 62 the court concluded that a regulation restricting the defendant’s use of

peyote would substantially burden his sincerely held religious beliefs because of the importance

peyote played in the religion practiced by the defendant. 63 United States v. Abeyta, 64 involved a

case where the defendant had killed a golden eagle to procure its feathers for use in a religious

ceremony. In that case, it was “clear that Abeyta’s killing of a golden eagle was an act of

religious belief.” 65 By prohibiting him from taking an eagle, the Bald and Golden Eagle

Protection Act interfered with the defendant’s ability to practice his religion. Thus, his conduct

could only “be punished if the government demonstrates that such an application of the Bald and

Golden Eagle Protection Act will advance a compelling governmental interest and that the act

embodies the least restrictive means by which the government interest can be vindicated.” 66

Nothing in these cases suggests that the mere fact that the defendants were being prosecuted was

sufficient to meet their burden of showing their sincerely held religious beliefs were substantially

burdened.

                  b.       Effect on Others

       Defendants next emphasize the effect the SNAP statutes and regulations have on FLDS

members generally, including co-Defendants, unindicted co-conspirators, and family members.

But, again, this is not the relevant inquiry. RFRA states that the “Government shall not


       62
            774 F. Supp. 1333 (D. N.M. 1991).
       63
            Id. at 1341.
       64
            632 F. Supp. 1301 (D. N.M. 1986).
       65
            Id. at 1307.
       66
            Id.


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substantially burden a person’s exercise of religion even if the burden results from a rule of

general applicability.” 67 “A person whose religious exercise has been burdened in violation of

this section may assert that violation as a claim or defense in a judicial proceeding and obtain

appropriate relief against a government.” 68 Just as the Court must make a focused inquiry on the

government’s stated interest, the Court must assess “the coercive impact [of] the government’s

actions on the individual claimant’s ability to engage in a religious exercise, as he understands

that exercise and the terms of his faith.” 69

        In assessing whether there is a substantial burden, the Court must look individually at

each Defendant, not their co-Defendants, unindicted co-conspirators, family members or the

FLDS population as a whole. These Defendants must demonstrate that the SNAP statutes and

regulations substantially burden their sincerely held religious beliefs. 70 Those who are not

substantially burdened by the SNAP statutes and regulations cannot bootstrap their claims onto

those who might be. The fact that the SNAP statutes and regulations may interfere with other

FLDS members’ religious beliefs is not relevant to the issue before the Court and this Motion is

not the proper place to address those concerns. Unless these Defendants can show how the

SNAP statutes and regulations substantially burden their own exercise of their sincerely held

beliefs, their claim fails.



        67
             42 U.S.C. § 2000bb-1(a) (emphasis added).
        68
             Id. § 2000bb-1(c) (emphasis added)
        69
             Yellowbear, 741 F.3d at 55 (emphasis added).
        70
          See Abdulhaseeb v. Calbone, 600 F.3d 1301, 1314 (10th Cir. 2010) (“[T]he issue is not
whether the lack of a halal diet that includes meats substantially burdens the religious exercise of
any Muslim practitioner, but whether it substantially burdens Mr. Abdulhaseeb’s own exercise of
his sincerely held religious beliefs.”).


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                  c.   Living the Law of Consecration

        Defendants contend that the SNAP statutes and regulations will prevent them from living

the Law of Consecration. However, this argument necessarily depends on Defendants receiving

SNAP benefits. If Defendants do not receive SNAP benefits, the SNAP statutes and regulations

preventing the donation of those benefits have no effect on Defendants. They cannot consecrate

what they do not have and nothing in the SNAP statutes and regulations prevent Defendants

from consecrating other property.

        Only Defendant Seth Jeffs has presented any evidence that he received SNAP benefits

and donated food received from the use of SNAP benefits. 71 The Court concludes that SNAP

statutes and regulations that would preclude Defendant Seth Jeffs from donating food received

through the use of those benefits would substantially burden his sincerely held beliefs. As such,

they would either prevent participation in conduct motivated by a sincerely held religious belief

or place substantial pressure on him to engage in conduct contrary to a sincerely held religious

belief. Thus, the Court concludes that Defendant Seth Jeffs has met his burden of showing that

his sincerely held religious beliefs are substantially burdened by the SNAP statutes and

regulations. 72

        The other Defendants argue that, even though they do not personally receive SNAP

benefits, they are nevertheless substantially burdened by the SNAP statutes and regulations


        71
          Defendant Winford Barlow states that members of his family are recipients of SNAP
benefits. However, for the reasons discussed, this is not sufficient.
        72
          The government argues that Defendant Seth Jeffs is likely not eligible to receive SNAP
benefits since he and his family did not disclose that their needs were being met through the
Bishop’s Storehouse. However, the government has not presented any evidence to support this
position.


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because they are asserting both a facial challenge and an as applied challenge. “A facial

challenge is one that contends the statute is impermissible in all, or at least the ‘vast majority[,]

of its intended applications.’” 73 Defendants have made no attempt to show that the SNAP

statutes and regulations are forbidden by RFRA in the vast majority of their applications, nor

could they. Therefore, Defendants’ facial challenge fails.



               d.       Teaching the Law of Consecration

       Defendants next argue that the SNAP statutes and regulations substantially burden their

ability to teach and preach the Law of Consecration. Defendants have stated that they have a

sincere belief in not only living the Law of Consecration, but also in teaching it to others. This

teaching takes different forms, depending on their role in the community. While some, such as a

Bishop, may teach the importance of the Law of Consecration to a large congregation, others

may be limited to teaching that principle to their immediate family members. Regardless of how

this teaching is done, the Court concludes that all Defendants, with the exception of Lyle Jeffs as

discussed, have a sincerely held belief that requires them to teach the Law of Consecration in

some form or another.

       As a result, the Court must consider whether the SNAP statutes and regulations impose a

substantial burden on Defendants’ ability to teach the Law of Consecration. Not every burden is

a substantial one. 74 As stated, a government act imposes a “substantial burden” if it: (1) requires



       73
          Friday, 525 F.3d at 951 (quoting Doctor John’s Inc. v. City of Roy, 465 F.3d 1150,
1157 n.5 (10th Cir. 2006)).
       74
          See Abdulhaseeb, 600 F.3d at 1321 (“We are not willing to conclude, however, that
every single presentation of a meal an inmate considers impermissible constitutes a substantial


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participation in an activity prohibited by a sincerely held religious belief, (2) prevents

participation in conduct motivated by a sincerely held religious belief, or (3) places substantial

pressure on an adherent to engage in conduct contrary to a sincerely held religious belief. 75 In

making this determination, the Court looks to the “intensity of the coercion applied by the

government to act contrary to those beliefs.” 76 While the SNAP statutes and regulations may

impose some burden on Defendants with respect to teaching the Law of Consecration, the Court

cannot conclude that any such burden is substantial.

       Nothing in the SNAP statutes and regulations require Defendants to participate in activity

prohibited by their sincerely held religious beliefs. Further, nothing in the SNAP statutes and

regulations specifically prevent Defendants from teaching the Law of Consecration, nor do they

place substantial pressure on Defendants to not teach the Law of Consecration. At most, the

SNAP statutes and regulations would prevent Defendants from discussing a limited range of

government benefits when teaching the Law of Consecration. The government acknowledges

that Defendants can teach the Law of Consecration without risking prosecution if they do not

mention SNAP benefits. 77 The Court cannot conclude that this slight limitation on conduct

presents a substantial burden.




burden on an inmate’s religious exercise.”); Friday, 525 F.3d at 947 (“We are skeptical that the
bare requirement of obtaining a permit can be regarded as a ‘substantial burden’ under RFRA, at
least in this case.”).
       75
            Hobby Lobby Stores, Inc., 723 F.3d at 1138.
       76
            Id. at 1137.
       77
          Docket No. 458, at 10. Defendant John Wayman argues that he is being prosecuted
even though he did not preach specifically about SNAP benefits. This argument, however,
ignores the other allegations against him in the Indictment. See Docket No. 1 ¶¶ 16, 32.


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       This situation is distinguishable from Abdulhaseeb v. Calbone, a case relied upon by

Defendants. In that case, a Muslim prisoner argued that denial of a halal diet substantially

burdened his sincerely held religious beliefs. The plaintiff was presented with a Hobson’s

choice: “either he eats a non-halal diet in violation of his sincerely held beliefs, or he does not

eat.” 78 The court found this sufficient to survive summary judgment. The “failure to provide a

halal diet either prevents Mr. Abdulhaseeb’s religious exercise, or, at the least, places substantial

pressure on Mr. Abdulhaseeb not to engage in his religious exercise.” 79

       The same cannot be said here. Defendants are not prevented from teaching the Law of

Consecration. Defendants retain the right and ability to so teach, though their ability to do so

with specific reference to SNAP benefits may be somewhat limited. But “[i]t is one thing to

curtail various ways of expressing belief, for which alternative ways of expressing belief may be

found. It is another thing to require a believer to defile himself, according to the believer’s

conscience, by doing something that is completely forbidden by the believer’s religion.” 80 At

most, the SNAP statutes and regulations curtail various ways in which Defendants can express

their beliefs, leaving open other methods of expressing those beliefs. 81 Thus, Defendants have

not shown that their sincerely held religious beliefs related to teaching the Law of Consecration

are substantially burdened by the SNAP statutes and regulations.

                  e.    Other Potential Burdens



       78
            Abdulhaseeb, 600 F.3d at 1317.
       79
            Id.
       80
            Id. (quoting Beerheide v. Suthers, 286 F.3d 1179, 1192 (10th Cir. 2002)).
       81
          See, e.g., Henderson v. Kennedy, 253 F.3d 12, 16–17 (D.C. Cir. 2001) (finding no
substantial burden where alternative means were available to spread religious group’s message).


                                                  22
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        In addition to these four primary arguments, four other arguments are worthy of brief

discussion. First, Defendant Lyle Jeffs argues that he may suffer consequences should he ignore

the directives of Warren Jeffs. However, RFRA is concerned with governmental action. Thus,

the harm Defendants may suffer as a result of hypothetical disobedience to Warren Jeffs is

irrelevant.

        Second, Defendant Hyrum Dutson argues that “[i]f faithful members did not donate all

they have there would . . . not be enough in the Community Storehouse to meet the needs of the

members. Therefore, I would not be able to live off of what I receive from the Community

Storehouse and would have to seek sustenance elsewhere, which would make me unworthy in

my religious commitments to the United Order and the FLDS faith, and hinder my eternal

salvation.” 82 This argument is not supported by any evidence. It is unclear what effect, if any,

prohibiting FLDS members from donating food received from SNAP benefits will have on

others. After all, the food that would have been donated will be consumed in the home, reducing

the demand on the Bishop’s Storehouse, allowing Defendant Dutson and others like him to

continue receiving goods from the Storehouse in accordance with their beliefs.

        Third, Defendant Winford Barlow argues that if the government prohibits SNAP

beneficiaries from using their SNAP cards at Meadowayne Dairy, where he works, it would

negatively affect his ability to consecrate his time to the Dairy. The Court is unaware of any

request by the government to limit where SNAP recipients might use their cards. Even if the

government was seeking such a limitation, it is difficult to see how this would substantially




        82
             Docket No. 665, ¶ 9.


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burden Defendant Barlow’s ability to work at the Dairy. He remains free to consecrate his time

as he sees fit.

        Finally, Defendant Seth Jeffs argues that his ability to work at the Storehouse would be

substantially burdened by the SNAP statutes and regulations. However, nothing in the statutes

and regulations would interfere with any Defendants’ ability to work at the Storehouse.

Defendant Seth Jeffs retains the ability to dedicate his labors to the Storehouse.

        4.        Compelling Interest

        Since Seth Jeffs has met his burden, the burden shifts to the government to show that the

challenged action is justified as the least restrictive means of furthering a compelling

governmental interest.

        The compelling interest at issue here is found in the Congressional declaration of policy

set out in 7 U.S.C. § 2011.

        It is declared to be the policy of Congress, in order to promote the general
        welfare, to safeguard the health and well-being of the Nation’s population by
        raising levels of nutrition among low-income households. Congress finds that the
        limited food purchasing power of low-income households contributes to hunger
        and malnutrition among members of such households. Congress further finds that
        increased utilization of food in establishing and maintaining adequate national
        levels of nutrition will promote the distribution in a beneficial manner of the
        Nation’s agricultural abundance and will strengthen the Nation’s agricultural
        economy, as well as result in more orderly marketing and distribution of foods.
        To alleviate such hunger and malnutrition, a supplemental nutrition assistance
        program is herein authorized which will permit low-income households to obtain
        a more nutritious diet through normal channels of trade by increasing food
        purchasing power for all eligible households who apply for participation. 83

        To accomplish the goal of alleviating hunger and malnutrition among low-income

households, an allotment is issued to eligible households to provide that household the


        83
             7 U.S.C. § 2011.


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“opportunity to obtain a more nutritious diet.” 84 This allotment is then to be used by the

household to purchase food from approved retail stores. 85

        Participation in SNAP is “limited to those households whose incomes and other financial

resources, held singly or in joint ownership, are determined to be a substantial limiting factor in

permitting them to obtain a more nutritious diet.” 86 Eligibility is based on the concept of the

“household.” Generally, a household is defined as those individuals “who live together and

customarily purchase food and prepare meals together for home consumption.” 87 However,

Congress has expanded the definition of household to include certain people who live in group

settings. 88

        These limited exceptions to SNAP ineligibility of residents of institutions and
        boarding houses reflect Congressional intent in protecting taxpayer investment in
        SNAP, such that SNAP benefits are issued to and benefit only those who are truly
        needy, while also serving low-income populations with special needs, such as the
        elderly, homeless, individuals with disabilities or drug dependencies, and victims
        of domestic violence. 89

Despite this limited expansion of the definition of household, neither Congress nor the USDA

has permitted non-eligible individuals to receive or make use of another’s SNAP benefits. 90

        “Strict adherence to the concept of the household is vital in SNAP because it is a

foundation principle for SNAP. Household composition must be determined correctly in order to



        84
             Id. § 2013(a).
        85
             Id.
        86
             Id. § 2014(a).
        87
             Id. § 2012(m)(1)(B).
        88
             Id. § 2012(m)(5).
        89
             Docket No. 458 Ex. 7 ¶ 25.
        90
             Docket No. 661, at 128:16–22.


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determine eligibility for SNAP and the correct benefit allotments.” 91 Another important aspect

of the SNAP program is how benefits are to be used. Under the statutes and regulations, SNAP

benefits are to be used only to purchase eligible food. 92 As stated, the government contends that

these statutes and regulations prohibit SNAP recipients from donating food received through the

use of SNAP benefits.

          Defendants do not appear to take issue with the government’s general interests in

increasing the purchasing power for needy individuals and preventing fraud and abuse. 93

However, as Defendants correctly point out, it is not enough for the government to support its

action using mere generalities. RFRA demands a “more focused” inquiry. 94 “RFRA requires the

Government to demonstrate that the compelling interest test is satisfied through application of

the challenged law ‘to the person’—the particular claimant whose sincere exercise of religion is

being substantially burdened.” 95 The Court must “look[] beyond broadly formulated interests”

and “scrutinize[] the asserted harm of granting specific exemptions to particular religious


          91
               Docket No. 458 Ex. 7 ¶ 19.
          92
          7 U.S.C. § 2013(a) (“The benefits so received by such households shall be used only to
purchase food from retail food stores which have been approved for participation in the
supplemental nutrition assistance program.”); id. § 2016(b) (“Benefits issued to eligible
households shall be used by them only to purchase food from retail food stores which have been
approved for participation in the supplemental nutrition assistance program at prices prevailing
in such stores.”); 7 C.F.R. § 274.7(a) (“Program benefits may be used only by the household, or
other persons the household selects, to purchase eligible food for the household . . . .”).
          93
          Docket No. 625, at 18 (“Lyle Jeffs takes no umbrage with the general principles of
feeding people and preventing fraud as a compelling interest.”); Docket No. 674, at 5 (“Seth
Jeffs concedes the government can show a compelling interest in the determination of a
household and who receives SNAP benefits.”).
          94
               Gonzales v. O Centro Espirita Beneficente Uniao Do Vegetal, 546 U.S. 418, 430
(2006).
          95
               Id. at 430–31 (quoting 42 U.S.C. § 2000bb-1(b)).


                                                   26
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claimants.” 96 “Put simply, we must examine both sides of the ledger on the same case-specific

level of generality: asking whether the government’s particular interest in burdening this

[defendant’s] particular religious exercise is justified in light of the record in this case.” 97

        Defendants make a number of arguments in support of their claim that the government’s

stated interests are not compelling as applied to them. Defendants first argue that the

government’s interests are not compelling because consecrating food obtained using SNAP

benefits does not violate the SNAP statutes and regulations. In support, Defendants point to the

testimony of Jeffrey Cohen, Deputy Associate Administrator for SNAP. Mr. Cohen testified at

the evidentiary hearing that there was no specific statute or regulation that addressed the

donation of food obtained through the use of SNAP benefits. Based on this, Defendants argue

that there is no statute or regulation that has been violated by the conduct alleged. This argument

fails for two reasons.

        First, Defendants oversimplify Mr. Cohen’s testimony. It is true that Mr. Cohen testified

that there was no specific statute or regulation that addressed donating food received through the

use of SNAP benefits. However, the fact that there is no specific statute or regulation dealing

with donating food does not mean that there is no statute or regulation at issue. As set forth

above, and testified to by Mr. Cohen, the regulations require SNAP benefits to be used to

purchase foods to be used by the household. 98 Mr. Cohen stated that wholesale donation of

foods received using SNAP benefits would violate the spirit, if not the letter, of the SNAP


        96
             Id. at 431.
        97
             Yellowbear, 741 F.3d at 57.
        98
             Docket No. 661, at 129: 7–19, 151:11–13; 7 U.S.C. §§ 2013(a), 2016(a); 7 C.F.R. §
274.7(a).


                                                   27
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statutes and regulations. 99 The reason there is no more specific regulation on donating food,

according to Mr. Cohen, is that there have been no instances worthy of further regulations on this

issue. 100 While bringing SNAP-acquired food to a neighborhood potluck would likely not cause

any issues, more systematic donations, such as those alleged here, “will raise some questions.” 101

       Second, the statutes and regulations need not address the specific conduct at issue in this

case. 102 The statutes and regulations set out approved conduct and prohibit contrary conduct. 103

Thus, the fact that there is no specific statute or regulation that would prohibit the donation of

food obtained through the use of SNAP benefits does not resolve this Motion.

       Defendants also argue that the government’s interests are not compelling because the

United States Department of Agriculture (“USDA”) does not regulate the conduct of SNAP

recipients post-purchase. This argument, however, ignores the testimony of Mr. Cohen and the

regulations set forth above requiring SNAP benefits to be used to purchase foods for the

household. Further, if SNAP recipients do not keep and consume the food purchased through the

use of their benefits, the goals of the program would clearly be frustrated.

       Defendants also argue that the government’s interest is not compelling because, rather

than interfering with the government’s interests, allowing FLDS members to donate food

received from the use of those benefits would actually better serve the governments’ interests.

“Under the Law of Consecration, FLDS SNAP benefit holders pool their benefit resources, buy


       99
            Docket No. 661, at 154:5–22.
       100
             Id. at 130:1–8, 148:14–22.
       101
             Id. at 130:8.
       102
             United States v. Salazar, 720 F.2d 1482, 1484–85 (10th Cir. 1983).
       103
             Id. at 1485; see also 7 U.S.C. § 2024(b), (c).


                                                   28
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in bulk, have more food, and feed more people, SNAP benefit holders and non-eligible

individuals alike.” 104 “In this scenario, the Government’s ‘compelling interest’ is actually

realized when FLDS members’ religious dictates are allowed to occur.” 105

       Mr. Cohen acknowledged that “there may be a case” where, because of bulk purchasing,

a “household is getting more than what they would have otherwise gotten.” 106 Unfortunately for

Defendants, this imagined scenario lacks any factual support. Indeed, the evidence presented

reveals that reality was just the opposite. The government has presented evidence showing

shortages at the Bishop’s Storehouse, and there is evidence directly linking those shortages to the

fact that non-eligible individuals were given items obtained from the use of SNAP benefits.

       For example, in her Declaration, Sheryl Barlow stated:

       The shortage of food related primarily to the fact that food stamps constituted the
       major funding source for the Storehouse. However, in addition to food stamp
       recipients, the Storehouse supplied individuals who were not food stamp
       beneficiaries. Therefore insufficient resources existed to support the large
       number of people relying on the Storehouse. 107

Allene Steed similarly stated that the shortages were caused, at least in part, because non-eligible

individuals were making use of food obtained through SNAP benefits. 108

       Defendants further argue that the government’s purported interest in raising levels of

nutrition among low-income households is not compelling because it has not been pursued

uniformly. In support, Defendants point out that the USDA places few restrictions on the food

       104
             Docket No. 625, at 20.
       105
             Docket No. 269, at 27.
       106
             Docket No. 661, at 141:12–14.
       107
             Docket No. 458 Ex. 1 ¶ 13.
       108
          Id. Ex. 3 ¶ 7 (“Because not all [United Order] members received SNAP benefits, there
were not sufficient resources to provide food for all [United Order] members.”).


                                                29
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items that can be purchased by using SNAP benefits. Thus, SNAP recipients can use their

benefits to buy unhealthy food, frustrating the government’s interest in providing for a more

nutritious diet. While there are few limitations on what food can be purchased using SNAP

benefits, there is a stark difference between what the USDA has allowed and what Defendants

seek. It is one thing to buy unhealthy food that is ultimately consumed by the household. It is

quite another to buy food, give it away, and hope that at least some makes its way back. Rather

than seeking the ability to buy certain items, Defendants seek the ability to allow wholesale

donation of food received through SNAP benefits and to allow non-eligible individuals to share

the benefits received by SNAP beneficiaries. The USDA has never permitted such activities.

Thus, this argument fails. 109 Accordingly, the government has shown that it has a compelling

interest in limiting the use of SNAP benefits to the purchase of food to be used by the household.

       5.        Least Restrictive Means

       Having determined that the government has a compelling interest, the next question is

whether the SNAP statutes and regulations are the least restrictive means of furthering that

interest. “[T]he government’s burden is two-fold: it must support its choice of regulation, and it

must refute the alternative schemes offered by the challenger.” 110 The government need not

“‘refute every conceivable option in order to satisfy the least restrictive means prong of




       109
           Yellowbear, 741 F.3d at 61 (“A government can rebut an argument from
underinclusion by showing that it hasn’t acted in a logically inconsistent way—by (say)
identifying a qualitative or quantitative difference between the particular religious exemption
requested and other secular exceptions already tolerated, and then explaining how such
differential treatment furthers some distinct compelling governmental concern.”).
       110
             Wilgus, 638 F.3d at 1289.


                                                30
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RFRA.’” 111 Instead, to successfully refute the alternative schemes offered by Defendants, the

government must “demonstrate the claimant’s alternatives are ineffective to achieve the

government’s stated goals.” 112

       The government’s choice of regulation is supported for the reasons set forth above.

Limiting the use of SNAP benefits to purchase food to be used by the household promotes the

government’s interests in providing food to needy individuals while combatting fraud and abuse.

Thus, the Court must consider the alternative schemes offered by Defendants.

       Defendant Lyle Jeffs’ proposed accommodation has four elements: (1) allow FLDS

members who have legally obtained SNAP benefits to donate the food they obtain from these

benefits to the Bishop’s Storehouse or consecrate the SNAP benefits to the Storehouse for the

express purpose of purchasing food; (2) allow FLDS members who have legally obtained SNAP

benefits to permit an authorized representative to manage their SNAP benefits, with the express

requirement that those benefits only be used to purchase food; (3) allow FLDS members or their

authorized representative to pool their benefits to purchase bulk food items; and (4) allow FLDS

members who are not eligible to receive SNAP benefits to receive a portion of a SNAP benefit

holder’s food during distribution from the Bishop’s Storehouse. 113

       Defendants’ proposed alternative suffers from at least two flaws. First, by allowing

SNAP recipients to donate either their food or their benefits, Defendants’ scheme would

       111
             Id. (quoting Hamilton v. Schriro, 74 F.3d 1545, 1556 (8th Cir. 1996)).
       112
             Yellowbear, 741 F.3d at 63.
       113
           Docket No. 625, at 21–22. Defendant Wayman offers a similar alternative that would
allow FLDS members to combine both SNAP and non-SNAP resources. See Docket No. 664, at
14. Defendant Seth Jeffs raises a number of questions on what SNAP administrators could have
done differently, but none of these questions demonstrate a less restrictive means. See Docket
No. 628, at 7.


                                                 31
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necessarily interfere with SNAP benefits being used to purchase foods to be used by the

household. While Defendants propose allowing the pooling of benefits to purchase bulk food

items, there is no evidence that this would increase available food. As discussed, the evidence

presented in this case shows that the previous pooling of benefits resulted in a reduction of food,

not a surplus.

       Second, Defendants’ scheme fails to promote the government’s interests because it

allows non-eligible individuals to receive food purchased through the use of SNAP benefits. As

set forth above, SNAP was created to provide funds to truly needy individuals to purchase food

for their household. Extending the program to those who have no such need will frustrate the

underlying purpose of a governmental program with limited funds. As Mr. Cohen stated at the

hearing, none of the accommodations made by Congress allow non-eligible individuals to make

use of SNAP benefits. 114

       Defendants argue that certain elements of their proposed accommodation are either

allowed by the USDA or not expressly precluded. Defendants rely heavily on accommodations

made in group home settings. In those settings, a resident may permit an authorized agent to

purchase food for the household. Defendants argue that the authorized representative could pool

the SNAP benefits of multiple residents to buy in bulk. However, the regulations make clear,

that “group living arrangements which act as authorized representatives for residents of the




       114
             Docket No. 661, at 128:16–22.


                                                32
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facilities must use food stamp benefits for food prepared and served to those residents

participating in the Food Stamp Program.” 115

       Defendants are correct that group homes need not prepare two meals: one with food

obtained through SNAP benefits and one without. This may lead, in certain circumstances, to

non-eligible individuals consuming food that was obtained through SNAP benefits. This sort of

incidental sharing has not been a concern for USDA. But, importantly, this is not what

Defendants are proposing. Defendants request an ability to donate food wholesale, without

regard to eligibility, to then be consumed by individuals determined worthy by the Bishop.

Defendants’ proposal would fail to account for the assets of the entire community and, in that

way, would further frustrate the government’s stated purpose. 116 Moreover, these group living

arrangements must go through an application process and are highly regulated. 117 Defendants’

proposal contains insufficient safeguards to ensure that SNAP recipients obtain their proper

allotment.

       Having refuted the alternative schemes offered by Defendants, the Court concludes that

the government has met its burden of demonstrating that the SNAP statutes and regulations are

the least restrictive means of achieving its compelling interests. Therefore, Defendants’ Motion

to dismiss under RFRA will be denied.


       115
            7 C.F.R. § 273.2(n)(3); see also 45 Fed. Reg. 23288, 23290 (Apr. 4, 1980) (“[E]ach
resident’s food stamps must be used for meals intended for that resident.”); Docket No. 661, at
128:9–12 (“But there is a responsibility of the home or institution, whatever it may be, to make
sure that those benefits are used in a way that the food goes to the individual who has contributed
those benefits.”).
       116
          Docket No. 661, at 157:21–158:5. Defendants’ reliance on the accommodation made
for some Alaskans fails for many of the same reasons.
       117
             Docket No. 458 ¶ 30; Docket No. 616, at 155:11–156:1.


                                                33
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B.       FIRST AMENDMENT

         In addition to their RFRA claim, Defendants also argue that the SNAP statutes and

regulations violate the Free Exercise clause of the First Amendment.

         The First Amendment states, in pertinent part: “Congress shall make no law respecting an

establishment of religion, or prohibiting the free exercise thereof.” 118 In resolving challenges

under the Free Exercise clause, the Court looks at neutrality and general applicability. “[A] law

that is neutral and of general applicability need not be justified by a compelling governmental

interest even if the law has the incidental effect of burdening a particular religious practice.” 119

“Thus, a law that is both neutral and generally applicable need only be rationally related to a

legitimate governmental interest to survive a constitutional challenge.” 120 “On the other hand, if

a law that burdens a religious practice is not neutral or generally applicable, it is subject to strict

scrutiny, and the burden on religious conduct violates the Free Exercise Clause unless it is

narrowly tailored to advance a compelling governmental interest.” 121

         “Neutrality and general applicability are interrelated, and . . . failure to satisfy one

requirement is a likely indication that the other has not been satisfied. A law failing to satisfy

these requirements must be justified by a compelling governmental interest and must be

narrowly tailored to advance that interest.” 122 “A law is neutral so long as its object is something



         118
               U.S. Const. amend 1.
         119
               Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 531 (1993).
         120
               Grace United Methodist Church v. City of Cheyenne, 451 F.3d 643, 649 (10th Cir.
2006).
         121
               Id.
         122
               Church of the Lukumi Babalu Aye, Inc., 508 U.S. at 531–32.


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other than the infringement or restriction of religious practices.” 123 “Facial neutrality is not

determinative.” 124 The Free Exercise clause “forbids subtle departures from neutrality and

covert suppression of particular religious beliefs.” 125

       Defendants concede that the SNAP statutes and regulations are facially neutral. Further,

Defendants do not appear to argue that the provisions covertly target their religious beliefs.

There is no evidence that the SNAP statutes and regulations were enacted or modified to target

the practice of FLDS members of donating their possessions. Thus, this case is distinguishable

from Church of the Lukumi Babalu Aye, Inc., where the Court found that “[t]he record in this

case compels the conclusion that suppression of the central element of the Santeria worship

service was the object of the ordinances.” 126 The ordinances there “had as their object the

suppression of religion.” 127 There is no similar evidence in the record in this case. Instead, the

evidence shows that Congress has carefully limited the definition of “household” in an effort to

accomplish its stated goal of permitting low-income households to obtain a more nutritious diet

by increasing their food purchasing power.

       Thus, the Court must consider whether the SNAP statutes and regulations are generally

applicable. Here, it is clear that they are. The statutes and regulations apply to all who receive

SNAP benefits, without regard to their religious beliefs. While Congress has created certain

exceptions to the definition of “household,” none of those exceptions are based on the recipient’s


       123
             Grace United, 451 F.3d at 649–50.
       124
             Church of the Lukumi Babalu Aye, Inc., 508 U.S. at 534.
       125
             Id. (quotation marks omitted).
       126
             Id.
       127
             Id. at 542.


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religious beliefs. Instead, those exceptions were made to ensure that the most vulnerable

individuals have access to SNAP benefits, even when they do not reside in a traditional

setting. 128 Defendants argue that “[t]he present action applies the SNAP fraud prohibition

specifically and discriminatorily against FLDS members while simultaneously allowing other

groups to engage in similar communal-type living without federal prosecution.” 129 However, as

set forth above, Defendants’ factual premise is incorrect. None of the exceptions created by

Congress allow non-eligible individuals to make use of an eligible individual’s SNAP benefits.

       Defendants also argue that selective enforcement can invalidate an otherwise facially

neutral statute. Defendants appear to argue that they have been targeted because of their

religious beliefs. However, they fail to provide any factual support for this argument. Without

more, Defendants cannot prevail on their selective enforcement claim.

       As the SNAP statute and regulations are neutral and generally applicable, they need only

be rationally related to a legitimate governmental interest to survive a constitutional challenge.

For the same reasons set forth above, the Court concludes that the SNAP statutes and regulations

are rationally related to a legitimate government interest. Therefore, Defendants’ claim under

the First Amendment fails.




       128
             Docket No. 458 Ex. 7 ¶ 25.
       129
             Docket No. 269, at 37.


                                                 36
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                                     III. CONCLUSION

       It is therefore

       ORDERED that Defendants’ Motion to Dismiss Indictment (Docket No. 269) is

DENIED. The time from the filing of the Motion through the date of this Order is excluded from

the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(1)(D).

       DATED this 15th day of November, 2016.

                                           BY THE COURT:



                                           Ted Stewart
                                           United States District Judge




                                              37
